                                         UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF CALIFORNIA
                                                 SAN JOSE DIVISION

In re                                                       Case No. 18-50398 MEH
        TECHSHOP, INC.,                                     Chapter 7
              Debtor.                                       Hon. M. Elaine Hammond

                                                            [No Hearing Required Unless Requested]

        NOTICE AND OPPORTUNITY FOR HEARING ON TRUSTEE’S APPLICATION FOR ORDER
         AUTHORIZING EMPLOYMENT OF SPECIAL COUNSEL ON CONTINGENCY FEE BASIS
                                   (Parrish Law Offices)

TO CREDITORS, THE UNITED STATES TRUSTEE AND OTHER PARTIES IN INTEREST:

         PLEASE TAKE NOTICE THAT Doris Kaelin, Trustee in Bankruptcy of the estate of the above-named Debtor
has filed an application with the United States Bankruptcy Court for an order authorizing her to employ Parrish Law Offices
(“Law Firm”) for the purpose of pursuing alleged infringement claims in connection with that certain pre-petition litigation
entitled TechShop, Inc. v. Dan Rasure, TechShop 2.0 LLC, and TechShop 2.0 San Francisco LLC, pending before the United
States District Court, Northern District of California, Case No. 18-CV-01044 DMR, and, as necessary and appropriate, any
amendment to the complaint (“Litigation”). Copies of the Trustee’s employment application and supporting declaration are
on file with the Bankruptcy Court.

        Prior to the petition date, the Debtor, through its wholly owned subsidiaries, was involved with the maker space
industry which allowed, among other things, users/members of the public to make items from a variety of materials using,
advanced equipment available on a membership model. The Trustee is informed that since 2006, the Debtor continuously
used the TechShop® trademark to market and sell its services throughout the United States and the world. The Trustee is
informed that TechShop mark was registered with the United States Patent and Trademark Office in 2012 and was in full
force and effect as of the date that the Debtor filed its bankruptcy petition.

         The Trustee is informed that, prior to the petition date, the defendants in the Litigation began using the
TechShop® marks without the permission or authorization of the Debtor. Prior to the petition date, the Debtor commenced
the Litigation against the defendants, asserting, among other things, federal trademark infringement under 15 U.S.C. §§
1114 and 1125(a) and contributory trademark infringement, and vicarious trademark infringement.

         The Trustee does not have the economic wherewithal to employ counsel on an hourly basis to pursue the Litigation.
Her general bankruptcy counsel is not in a position to undertake the Litigation on a contingency fee basis. The Law Firm
is willing to (i) pursue the Litigation on behalf of the bankruptcy estate on a contingency fee basis and (ii) advance certain
costs to be reimbursed from any economic recovery. Under the terms of the contingency fee agreement, a copy of which is
attached as Exhibit A to the Declaration of James Pistorino, filed concurrently herewith, the Law Firm will be paid a
contingency fee equal to 33% of the “net recovery” if the Litigation is resolved ten days prior to the initial trial or arbitration
date, with the fee rising to 40% at any date thereafter. The term “net recovery” means: (1) the total amounts received by
settlement, arbitration award or judgment, including any award of attorney’s fees; (2) minus costs and distributions. Net
recovery will also include the reasonable value of any non-monetary proceeds.

         The Trustee is seeking to employ the Law Firm on a contingency fee basis under 11 U.S.C. §§ 327(c) and 328(a).
Section 327 provides that, “A person is not disqualified from employment under this section solely because such person’s
employment by a representation of a creditor, unless there is an objection by another creditor or the United States Trustee
… .” Section 327(c) further provides that in the event of an objection, the Court shall disapprove such employment if there
is an actual conflict of interest. The Debtor’s estate does not have any unencumbered funds on hand. The Trustee is not in
a position to employ counsel to prosecute the Litigation on an hourly basis, as such costs could be prohibitive. Section
328(a) permits contingency fee arrangements. The Trustee predicts that the Litigation could be very expensive and that a
contingency fee arrangement is in the best interest of the estate because there is a substantial commitment that will be
required of counsel and that the estate has limited resources at this time to commit to the Litigation.


        Case: 18-50398          Doc# 81       Filed: 05/09/18        Entered: 05/09/18 06:34:04            Page 1 of 2           1
        Consistent with 11 U.S.C. § 327(c), the Trustee is serving notice of this application on other creditors, the United
States Trustee and the Debtor, as notice of the terms of retention.

        Section 327(a) of the Bankruptcy Code provides that the Trustee may employ a professional that does not hold or
represent an interest adverse to the estate and is a disinterested person, “except as otherwise provided in this section.”

        Section 327(c) provides as follows:

                (c) In a case under chapter 7, 12, or 11 of this title, a person is not disqualified for
                employment under this section solely because of such person’s employment by or
                representation of a creditor, unless there is objection by another creditor or the United
                States trustee, in which case the court shall disapprove such employment if there is an
                actual conflict of interest.

        The purpose of this notice is to provide other creditors and the United States Trustee with an opportunity to file an
objection to the proposed employment of the Law Firm to pursue the Litigation. The Trustee notes that Section 327(c) does
not provide an opportunity for the Debtor to object to the proposed employment.

       PLEASE TAKE FURTHER NOTICE THAT Local Rule 9014-1 of the United States Bankruptcy Court for the
Northern District of California prescribes the procedures to be followed with respect to any objection to the proposed
employment or any request for hearing thereon.

Any objection to the requested relief, or a request for hearing on the matter, must be filed and served upon the
initiating party within 21 days of mailing the notice;

Any objection or request for a hearing must be accompanied by any declarations or memoranda of law any
requesting party wishes to present in support of its position;

If there is no timely objection to the requested relief or a request for hearing, the court may enter an order granting
the relief by default; and

In the event of a timely objection or request for hearing, the initiating party will give at least seven days’ written
notice of the hearing to the objecting or requesting party, and to any trustee or committee appointed in the case.

       PLEASE TAKE FURTHER NOTICE THAT as of January 1, 2005, the United States Bankruptcy Court for the
Northern District of California has adopted mandatory electronic filing. If you are not currently qualified to file papers with
the Court electronically, you should consult the Court’s website (www.canb.uscourts.gov).

DATED: May 7, 2018                       RINCON LAW LLP




                                         By: /s/ Gregg S. Kleiner
                                             GREGG S. KLEINER
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        Case: 18-50398         Doc# 81        Filed: 05/09/18     Entered: 05/09/18 06:34:04            Page 2 of 2          2
